         Case 8:06-cr-00441-JSM-J_S Document 135 Filed 08/24/07 Page 1 of 6 PageID 307
A 0 245B (Rev 06105) Sheet 1 - Judgment in a Criminal Case


                             UNITED STA TES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        TAMPA DIVISION



UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIb'Ilh'AL CASE
                                                                 CASE NUMBER: 8:06-cr-441-T-30MSS
                                                                 USM NUMBER: 49041-018
VS.



JOSE SIS-GABRIEL
                                                                 Defendant's Attorney: William Gottfried, cja.

THE DEFEPiDANT:

-
X pleaded guilty to count(s) ONE and TWO of the Indictment.
-pie+ded nolo contendere to count(s) whtch was accepted by the court.
- was found guilty on counf(s) after a plea of not gu~lty.

TITLE Br SECTION                    NATURE OF OFFENSE                              OFFENSE ENDED

46 L.S C. $$ 70503(a) and            Consp~racyto Possess w~thIntent to            October 14, 2006                     One
70506(a) and (b), and 21 U S C .     Distnbute 5 Kilograms or More of
S 960(b)(l)(B)(ll)                   Cocame

46 U.S.C. $8 70503(a) and           A~dmgand Abethng to Possess wth Intent October 14,2006                              Two
70506(a) and (b), and 21 U.S.C.     to Distribute 5 Kdograms or More of
4 96O(b)(l)@)(u)                    Cocame

        The defendant 1s sentenced as prouded in pages 2 through 6 of this judgment T l ~sentence
                                                                                         e        is imposed pursuant to the Sentmcmng
Reform Act of 1984

- The defendant has been found not g d t y on count(s)
-Count(s) of the Indictment is dismssed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notifj the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restihltion, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant nus st notify the court and United States Attorney of any material change in economic
circumstances.                                                                                                                            1
                                                                                   Date of Imposit~onof Sentence: August 23,2007




                                                                                                   22200.7
                                                                                   DATE: ~ u g u s t
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A 0 245B (Re\, 06/05) Sheet 2 - Lmpr~sonment(Judgment In a Criminal Case)
Defendant:         JOSE SIS-GABRIEL                                                        Judgment - Page 20 1 . 6
Case No.:          8:06-cr-44 1 -T-30MSS




          .After coosidering tlic athrisory sentencirig guidelines and all of the factors identifiecl in Title 18 U.S.C. $5
3553(a)(l)-(7), the court t i ~ ~ that
                                  d s the s e r ~ t e ~ imposed
                                                        ~ce     is sufficient, but not greater than necessary, to comply u.ith
t h e statutory purposes of sentencing.


          The defendant is hereby conmittecl to thc custocly of the Irnitect States Bureau of Prisons to h e imprisoned for-
:I total term of EIGHTY-SEVEN (87) MONTHS as to each of Counts Onc a n d Two of the Indict~nent,all such terms
to r u n concurrcntly.




-
X The defendant is remanded to thc custody of the United States Marshal.
- The defendant shall sur-I-endcrro the United States htarshal for this district.

          - a1 - a m /p.m. on -.
             as ~:otificdby thc IJnitcd Stares Marshal.

- l'hc defendant shall surrcndcr for scwicc of sentence at thc institution designated bj. the Bureau of Prisons.

          - before 2 p.m. on -.
          - as notificd by thc Unitcd States Marshal.
          - as notificd by thc Probation or Pretrial Scrvices Ofiicc.




          I have executed this judgment as follows:




          Defendant dclivcred on                                               to
- at                                                                    , with a certified copy 01' this judgment.



                                                                                    United States Marshal

                                                                         By:
                                                                                            Deputy United States Marshal
           Case 8:06-cr-00441-JSM-J_S Document 135 Filed 08/24/07 Page 3 of 6 PageID 309
. A 0 245B (Rev. O 6 , W ) Sheet 3 - Supen~isedRelease (Judgnlcnt in a Criminal Case)

Il~fendant:         JOSE SIS-G.;\ UIUEL                                                                         .Jud,oincnt - Pugc    of A
C ~ S NO.:
      C             8:06-cr-441-1'-30M SS
                                                               SUPERVISED RELEASE

        Upon release from inlprisonnwnt, the defendant shall be on supervised release for a term of' FIVE (5) \T,.iutC;as to c ; ~ c h
of Counts One and Two o f t h e Indictment, all such term to run concurrently.

          T h e dcfmdant must report to the probation office in the distrizt to which thc ddendmt is released \t~ithin72 liours o f release from
~ h custody
    c       o f ths Bwoau oi'Prisons.

T h e defendant shall nor commit another federal, state, o r local crime. The defendant shall not unla\~tiillypossess a coilnolled sitbslance.
'Fhe defendant shall refrain f r o ~ nany unlawful use o f a controlled substance. T h e defendant shall s~lbnlltto one drug test within 15 days
of release from inmprisonment and at least t w o periodic d r ~ i gtests thereafter, a s determined b y the coui-t.

          T h e defendant shall not possess a fireai-nm, desll-uctive device. or any otliel- dangerous weapon.

          T h e defendant shall cooperate in the collection a f DNA as directcd bj the probation officer.

           If this judgmcnt imposes a fine o r restitution it is a condition o f supen ised release that the defendant pay in accordance \c.~ththe
           Schedule of Payincnts sheet of this judgment.

           T h e defendant must comply with the str~ndarclconditions that have been adopted by this court as well a s with any additional
           conditions o n the attached page.

                                               ST.&YDARD CONDITIONS OF SIJl'ER\ISIOI\'
           the d z f e n h t s i ~ I 1rot leave the j u d ~ c i dd~strlctw~thoutthe pemilsston oit'lc C ~ L Ior~ probatton
                                                                                                                 I         officcr,

           the defendant shall rcport to the probation officcr and shall submit a truthful and complete wrirten report ivithin the first five days of each
           month;

           tlic defendant shall iinswcr truthfully all inquiries by thc probation officer and follow the instructions of tlic probation officer;

            the dcfcndant shall support his or- her dependents and mcct other fanlily ~uponsibilitics;

            the difend,tnt shall work regularly at a lawful occupation, unless excused b) the probation officer for schooling, training, or- othcr-
            acceptable rcasons;

            the defendant shall not~fythe probation officer at Icast ten days prior to any change in residence or enipluyment;

            the defendant shall refrail1 from excessive usc of alcohol and shall not purchase, posscss, use, distribute, or administer any controllccl
            substance or any paraphernalia related to any controlled substances, esccpt as prcscrihcd by a physician;

            the dcfcndan. sl all nut iiecluent places \diere controlled substances asc illqall y sold, used. distributcd. or. L~dni~n~stcred,

                                                                                  xtlvlty and sli~llnot associate \+.~th
            the defendant sllall not associate with any pcrsons cngaged In cr~ni~nal                                   any person con\ ~ctedof ;I
            fclony, unless grantcd pcrmlssion to do so by thc probarion officer;

            the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere rind shall pcrniit confiscation of any
            contraband obser\mi in plain view of the probation officcr:

            the defcndant shall notify the probation offices \vithin scvcnty-two hours of being u ~ ~ c s t cord cluestloned by a law enforcement officcr;

            the clcfinilm~shall not ctiter Into an!( asrcemcnl lo act as an ~nfolniel-or a special ngcnl of 3 law enfosccmcnt agencj \v~thoutthc
            permission of tlic court; :~nd

                             f probation officer, the defendant shall notify third part~esof risks that may be occasioned by the dcfendant's criniinal rccord
            as directed b ~the
            or personal history or characteristics and shall permit the probation officer to make such notifications and to confimi thc dcfcndmt's
            conmpliance with such notification requirement.
         Case 8:06-cr-00441-JSM-J_S Document 135 Filed 08/24/07 Page 4 of 6 PageID 310
.40 235B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Cr~rninalCase)

Defendant:         JOSE SIS-GABRIEL                                                           Judgment - Page 4 of
Case No.:          S:U6-c1.-441 -T-3OM SS

                                        SPECIAL COIYDITIOI\;S OF SLTPEItVISIOI\:

         Thc defendant shall also comply \c.ith the following additional conditioi~sof si~pcrvisedrclease:


x
-        I f the defendant is deported, heishe shall not be allowed to re-enrer the (;niled Statcs ii'ithout the express pc~mlssiono f the
         appropriate govenmlelital authority.

--
Y        Thc clefrnd;lnr shall cooperate in the collection of DNA as directed by the probation officer.

-
Y        Th- ~nandatorydrug testing provisions shall apply pursoant to the Violent ( : I - I ~ Control
                                                                                               c       . k t . The Court authori~esrandom
         drug testing not to exceed 104 tests per year.
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A 0 345B (Kcv 06'05) Sheet 5 - CI-imind Monetary Penalties (Ji~dglnsntin a C'nminul Case)

Lkfendanl:          JOSE SIS-GABRIEL                                                 Judgment - Pagc 5       of    6
Case Yo.:                     1 -T-30MSS
                    8:06-CI.-34

                                           CRIMINAL MONETARY PENALTIES

          Thc dclkndant must pay the total criminal monetary penalties under die schedule of payments on Sheet 6.
                             -Assessment                           Fine                       Total Restitution

          Totals:            $200.00                              Waived                      N/A


-         The detznnination of I-estitutionis deferred until        .       An Arr~e/zdcdJz~~Igr~zt'~~t
                                                                                                 ill IZ C~ir?lii~al
                                                                                                                Cme ( A 0 245C) will
          be entcred .~fterS L I C det~t-n~inatiot~.
                                   ~

-         The defendant must make restitution (including conununity I-sstitut~on)
                                                                               to the t'ollou~ingpayees in the a111ount 11sted
          below.
          If the defendant makes a partial payment, each payes shall receive an appi-oxilnately proportio~~ed
                                                                                                           payment, irnless
          specified otherwise in the priority order or percentage payment colunm below. However, purs~iantto 18 U.S.C. $
          3664(i), all non-fcderal victirns ]nust be paid befbre he Unitecl States.


Kame of Payee                                  Total Loss*                  Resti tutiorl Ordered                 Priority or Percentage




                             Totals:

-         Restitution amount ordered pursuant to plea agreement S
-         The defendmt ni~lstpay interest on a firle or restitution of more than $2,500, tmlzss the restitution or fiiir is pad 111 full
          before the iifteenth day after the date 01' the judgment, pursuant to 18 C.S.C. $ 36 12(f3. All oS ~11spayment options on Shcct
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 36 12(g).

-         The cour~dstermhed that the defendant does not have tlis ability to pay interest and i t is ordered that:

         -          die uitercsi requirement is waived for the - fine - restitution.
         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1 OgA, 1 10, 1 1OA, and 1 13.4 of Title 18 for the offenses conmlllted
ox? or after Stpten~ber1 ?, 1994, but before April 23, 1996.
          Case 8:06-cr-00441-JSM-J_S Document 135 Filed 08/24/07 Page 6 of 6 PageID 312
A 0 245B (Re\. 06!05) Sheet 6 - Schedule of Payments (Judgment In a Criminal Casc)

?kfendant:          JOSE 91s-G.4BRIEL                                                     Judgment - Page           of 6
                                                                                                                       --
C x c No.:          S:N-cr-43 1 -T-30h4SS



                                                      SCHEDULE OF PAYMENTS



I-I'lving assessed the clefc'ndnnt's ability to pay, payment of the total criminal monutai-y penalties are due as follows:

         X
         - Lump suni paynicnt of's 200.00 due iiixnediately. balance due
                              - not later than                   , or

                              - in accordance - C, - D: - E or - F below; 01-
13.      -          P::ynisnt to begin immed~ately(may bc combined with -Cr, -D. or -F below); or
C.       -         Pa~.mentin equal          (e.g., weekly. monthl>. quasterly) installments of S           over a pcr~od
                   of -(e.g., months or years). to commence             da1.s (e.g., 30 or 00 days) after the date of this
                   jud,ument: or
D.       -          Payment in equal              (e.g., weekly, monthly. quarterly) installments o f S            over a period of
                                , (e.g.. ~~iontlis
                                                or years) to commence                     (c.g. 30 or 60 d a ~ safter
                                                                                                                 )    release from
                    imyrisonment to a t c m of supervision; o r
E.       -          P:l>ment during t l ~ cterm oi'supervised release will commencc ivithin                 (e.g.. 30 or 60 days)
                    alter releasc from iniprisonn~ent. The court \\:ill set the pynicnt plan based on an assessment ot'the
                    defendant's ability to pay at that time. or
F.       -          Special instructions regarding the payment of criininal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. payment of criminal monetary
penalties is due during in~prisonment.All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any csiniinal monetary penalties imposed.
.-        Joint and Ssvesal
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several X m o ~ i n and
                    t ~ conssponding payee? if appropriate:


-         The defendant shall pay the cost ofprosec~ition.

-         The defendant sh:lll pay the following court cost(s):

-         The Jefcndmt shdl forfeit the defendant's interest in the following psopcl-ty to thc IJnitcd States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property. or portions thereof, subject to forfeit~lre.which are in the possession or control ol'tlie defendant or the defendant's
nominees.
Payments shall be applied in the f o l l o ~ i yorder: ( 1 ) assessment. ( 2 ) restitutio:l principal, (3) I-estitutioninterest, (1)fine principal. ( 5 )
fine interest, (6) conmmunity restitution. (7) penalties. and (8) costs. including cost of prosecution and court costs.
